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 1   PHILLIP A. TALBERT
     United States Attorney
 2   KIMBERLY A. SANCHEZ
     Assistant United States Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, CA 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5   Attorneys for Plaintiff
     United States of America
 6
                                      IN THE UNITED STATES DISTRICT COURT
 7
                                         EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                                  CASE NO. 1:16-CR-00200 LJO
 9
                                     Plaintiff,                 STIPULATION TO CONTINUE CHANGE OF PLEA
10                                                              HEARING
                               v.
11
     EFRAIN VALENCIA, AND
12   JORGE NOE TORRES HERNANDEZ

13                                  Defendants.

14

15           IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney and

16   Kimberly A. Sanchez, Assistant U.S. Attorney and Michael Grahn and Ernest Lutz, attorneys for the

17   defendants, that the change of plea hearing set for October 16, 2017 at 8:30 am before the Honorable

18   Lawrence J. O’Neill be continued to November 27, 2017 at 8:30 a.m. On September 1, 2017 Mr. Grahn

19   sustained a serious knee injury, ultimately being diagnosed with a fractured Tibia and a torn ACL. For this

20   reason he was in an immobilizer leg brace and on crutches for 4 weeks and was unable to travel to Fresno to

21   finalize the plea negotiations with the Government. Mr. Lutz would like to enter his client’s change of plea

22   at the same time as the co-defendant, and he needs additional time to finalize the plea agreement. The travel

23   time associated with this case 1 has affected his ability to complete his efforts to finalize the investigation and

24   discuss the case with his client to effectuate the plea.

25           The parties further request the Court to enter an Order finding that the "ends of justice" served by a

26   continuance outweigh the interest of the public and the defendant in a speedy trial, and that the delay through

27

28           1
                 Mr. Lutz’s office is in Torrance, California
       Stipulation                                              1
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 1   November 27, 2017 is excluded from the Act's time limits pursuant to 18 U.S.C. § 3161(h)(7)(A).

 2

 3          Dated: October 13, 2017                              Respectfully submitted,

 4                                                               PHILLIP A. TALBERT
                                                                 United States Attorney
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 6
                                                          By     /s/ Kimberly A. Sanchez
 7                                                               KIMBERLY A. SANCHEZ
                                                                 Assistant U.S. Attorney
 8
            Dated: October 13, 2017                              /s/ Michael Grahn
 9                                                               MICHAEL GRAHN
                                                                 Attorney for Defendant Hernandez
10
            Dated: October 13, 2017                              /s/ Ernest Lutz
11                                                               ERNEST LUTZ
12                                                               Attorney for Defendant Valencia

13   IT IS SO ORDERED.

14      Dated:      October 13, 2017                         /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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      Stipulation                                        2
